                          Case 4:19-cv-07123-PJH Document 17 Filed 01/10/20 Page 1 of 2



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            10

            11                                     UNITED STATES DISTRICT COURT

            12                                 NORTHERN DISTRICT OF CALIFORNIA

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            14      WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123
                    and FACEBOOK, INC., a Delaware
            15      corporation,                                   [PROPOSED] ORDER GRANTING
                                                                   PLAINTIFFS’ ADMINISTRATIVE MOTION
            16                                                     TO RESCHEDULE CASE MANAGEMENT
                                     Plaintiffs,                   CONFERENCE UNDER LOCAL RULES 7-11
            17                                                     & 16-2(D)
                           v.
            18
                    NSO GROUP TECHNOLOGIES LIMITED                 Hon. Jacqueline S. Corley
            19      and Q CYBER TECHNOLOGIES LIMITED,

            20                       Defendants.

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                                                                            [PROPOSED] ORDER GRANTING PLAINTIFFS’
  COOLEY LLP
ATTORNEYS AT LAW                                               1                      MOTION TO RESCHEDULE CMC
 SAN FRA NCI S CO                                                                          CASE NO. 3:19-CV-07123
                         Case 4:19-cv-07123-PJH Document 17 Filed 01/10/20 Page 2 of 2



              1                                        [PROPOSED] ORDER

              2           Good cause appearing, the motion to reschedule the Case Management Conference currently

              3     schedule in this matter for January 30, 2020 at 3 p.m. is GRANTED. The Case Management

              4     Conference is rescheduled to _______________________________,
                                                   February 13                    2020, at 1:30 p.m.

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              6           IT IS SO ORDERED.                                  TES D      TC
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                            January 10, 2020
                    Date: ___________________                ___________________________________________
                                                             Hon. Jacqueline S. Corley




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                                                                                        [PROPOSED] ORDER GRANTING PLAINTIFFS’
  COOLEY LLP
ATTORNEYS AT LAW                                                   2                              MOTION TO RESCHEDULE CMC
 SAN FRA NCI S CO                                                                                      CASE NO. 3:19-CV-07123
